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                                                                       FILED: April 9, 2019

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                       ___________________

                                            No. 19-4225
                                       (1:18-cr-00204-JKB-1)
                                       ___________________

         UNITED STATES OF AMERICA

                     Plaintiff - Appellee

         v.

         JAMES HAIR, a/k/a Mook

                     Defendant - Appellant

                                       ___________________

                                            ORDER
                                       ___________________

              The court grants the motion to withdraw as counsel on appeal.

               The court appoints Gerald C. Ruter to represent James Hair on appeal.

        Counsel is referred to the CJA Payment Memorandum and the CJA eVoucher

        Page for information on appointment terms and procedures.

               CJA authorization for preparation of transcript is obtained by submitting an

        AUTH-24 request in the district eVoucher system. New appellate counsel must

        contact district eVoucher staff for appointment to the underlying district court case

        in order to submit the AUTH-24 request for district judge approval and the CJA 24
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        voucher for transcript payment. Counsel must also submit a Transcript Order Form

        to the court reporter and district court and file the same in the court of appeals with

        the docketing statement. Upon filing of the Transcript Order Form, the Fourth

        Circuit will set deadlines for completion of the transcript.

              CJA 20 and 21 vouchers are submitted for payment through the Fourth

        Circuit's CJA eVoucher system. Upon receiving email notification of this

        appointment from eVoucher, counsel may create CJA 20 and 21 vouchers for use in

        maintaining time and expense records and paying for expert services.

               In light of this appointment, appellate counsel is granted access to sealed

        district court material, with the exception of ex parte or in camera material. Any

        transcripts or record material sent to prior counsel shall be provided by prior

        counsel to newly appointed counsel. If record items are not available from former

        counsel, new counsel should contact the Fourth Circuit Appointments Deputy for

        assistance in obtaining these items.

              The court having appointed new counsel for purposes of this appeal, any

        motion for further substitution of counsel shall be disfavored.

                                                For the Court--By Direction

                                                /s/ Patricia S. Connor, Clerk
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                                  UNITED STATES COURT OF APPEALS
                                      FOR THE FOURTH CIRCUIT
                                        OFFICE OF THE CLERK
                                         1100 East Main Street, Suite 501
                                         Richmond, Virginia 23219-3517
                                             www.ca4.uscourts.gov
             Patricia S. Connor                                               Telephone
                    Clerk                                                   804-916-2700


                                             April 9, 2019
                                     ___________________________

                                        CJA COUNSEL NOTICE
                                     ___________________________


         No. 19-4225,         US v. James Hair
                              1:18-cr-00204-JKB-1
         TO: Gerald Chester Ruter
             LAW OFFICES OF GERALD C. RUTER, P.C.
             9411 Philadelphia Road
             Suite O
             Baltimore, MD 21237
             410-238-8000
             ruterlaw@verizon.net

          Thank you for accepting appointment on appeal in this case. This office will
          work with you in any way necessary in connection with the appointment. The
          case manager for this case is Jennifer Rice, and the following information is
          provided for your use (click on an underlined document to access the document
          on the court's web site, www.ca4.uscourts.gov).

          Initial Forms: Following forms must be filed within 14 days.
             • Appearance of Counsel (must be registered for electronic case filing)
             • Docketing Statement (required for appointments at the beginning of the
                 appeal)
             • Transcript Order Form (order any necessary transcript)


          Appointment and Case Information: Time and expense records must be
          maintained in accordance with the CJA Payment Memorandum to permit
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          payment at the end of the case.

          All case filings must be made using the court's Electronic Case Filing system
          (CM/ECF). Counsel not yet registered for electronic filing should proceed to the
          court's web site to register as an ECF filer. See Required Steps for
          Registration as an ECF Filer.

          Copies of any documents filed on appeal to date are accessible on the
          court's docket. Documents filed by a party while proceeding pro se will not
          be considered by the court unless renewed by counsel.

          Record: Counsel should use a fee exempt account for all PACER access in CJA
          cases. If you do not have a fee exempt account, email pacer@psc.uscourts.gov
          and list the courts in which you serve as CJA counsel. PACER will respond to
          you with an email updating your PACER credentials to include access as CJA
          counsel and instructing you on how to use the updated credentials. The district
          court’s PACER docket and electronic documents are accessible through a link to
          the district court docket from the appellate docket. The "Create Appendix"
          option enables counsel to combine multiple documents into one PDF record for
          printing or saving.

          Presentence Report, Statement of Reasons, Transcripts: Since the
          presentence report and statement of reasons are sealed documents and the
          transcript is restricted from public access during the redaction period, counsel
          may need to make special arrangements to obtain these documents. If record
          items are not available from former counsel, new counsel should contact Lisa
          McFarland, the Fourth Circuit Appointments Deputy, at 804-916-2744, for
          assistance in obtaining these items.

        CONTACT INFORMATION:

         Former counsel:      Christopher Carlos Nieto
                              Direct: 410−863−8189
                              Email: cnieto@nietolawoffice.com
                              LAW OFFICE OF CHRISTOPHER C. NIETO, LLC
                              Suite 1301
                              1 North Charles Street
                              Baltimore, MD 21201
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         Defendant:            JAMES HAIR
                               Chesapeake Detention Facility
                               401 E. Madison Street
                               Baltimore MD 21202

        Lisa McFarland, Deputy Clerk
        804-916-2744
        cc: Defendant
              Felicia Cannon
              Christina Ann Hoffman
              CJA Contacts MDD
              Peter Jeffrey Martinez


                   SEALED & CONFIDENTIAL MATERIALS
        Internet Availability of Docket & Documents

        Fourth Circuit case dockets and documents are available on the Internet via the
        Judiciary's PACER system (Public Access to Court Electronic Records). The Fourth
        Circuit docket is available on the Internet even if the district court docket was
        sealed. If a party's name was sealed in the district court, it should be replaced by
        "Under Seal" or a pseudonym on appeal.

        Due to the electronic availability of court documents, the federal rules prohibit
        including certain personal data identifiers in court filings. In addition, parties should
        not include any data in their filings that they would not want on the Internet.
        Counsel should advise their clients on this subject so that an informed decision can
        be made. Responsibility rests with counsel and the parties, not with the clerk.

        Documents filed by the parties in immigration and social security cases are not
        accessible over the Internet to the public. In immigration and social security cases,
        public Internet access is limited to the court's docket, orders, and opinions.

        Federal Rules of Procedure

        The federal rules of procedure require filers to redact any of the following personal
        data identifiers (PDIs) if included in court filings: (1) social security and tax ID
        numbers must be limited to last four digits; (2) minor children must be identified by
        their initials only; (3) dates of birth must show the year only; (4) financial account
        numbers must be limited to the last four digits only; and (5) home addresses in
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        criminal cases must be limited to city and state only. The federal rules establish
        limited exceptions to these redaction requirements. See Fed. R. App. P. 25(a)(5);
        Fed. R. Civ. P. 5.2; Fed. R. Crim. P. 49.1; Fed. R. Bankr. P. 9037

        Judicial Conference Privacy Policy

        In addition, the judiciary's regulation on Privacy Policy for Electronic Case Files
        prohibits filers from including any of the following criminal documents in the
        public file: (1) unexecuted summonses or warrants; (2) bail or presentence reports;
        (3) statement of reasons in judgment of conviction; (4) juvenile records; (5)
        identifying information about jurors or potential jurors; (6) CJA financial affidavits;
        (7) ex parte requests to authorize CJA services and (8) any sealed documents, such
        as motions for downward departure for substantial assistance, plea agreements
        indicating cooperation, or victim statements.

        Local Rule 25(c)

        Local Rule 25(c) limits the sealing of documents by requiring that sealed record
        material be separated from unsealed material and placed in a sealed volume of the
        appendix and by requiring the filing of both sealed, highlighted versions and public,
        redacted versions of briefs and other documents.

        Documents that were not sealed before the agency or district court will not be
        sealed in this court unless a motion to seal is filed and granted in this court.

        Since the ECF events for sealed filings make the documents accessible only to the
        court, counsel must serve sealed documents on the other parties in paper form.

        Sealed Volume of Appendix

        If sealed record material needs to be included in the appendix, it must be placed in a
        separate, sealed volume of the appendix and filed with a certificate of
        confidentiality. In consolidated criminal cases in which presentence reports are
        being filed for multiple defendants, each presentence report must be placed in a
        separate, sealed volume served only on Government counsel and counsel for the
        defendant who is the subject of the report.

           •   Use ECF event-SEALED APPENDIX to file sealed electronic appendix
               volume(s). One sealed paper volume must be sent to the court. If the case is
               tentatively calendared for oral argument, 3 additional paper copies of the
               sealed appendix must be filed, with additional copies being ordered by the
               court if otherwise needed. Cover of sealed appendix volume must be marked
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               SEALED, and paper copies must be placed in envelopes marked SEALED.
               Sealed volume must be served on other parties in paper form.
           •   Use ECF event-Certificate of confidentiality to identify authority for
               treating material as sealed and to identify who may have access to sealed
               material. A paper copy of the certificate of confidentiality must accompany
               the paper copy of the sealed appendix filed with the court.
           •   Use ECF event-APPENDIX to file public electronic appendix volumes(s).
               One public paper volume must be sent to the court. If the case is tentatively
               calendared for oral argument, 3 additional paper copies of the appendix must
               be filed, with additional copies being ordered by the court if otherwise
               needed. Paper copies of public volumes of appendix do not need to be served
               on other parties if they were served with public appendix in electronic form.


        Sealed Version of Brief

        If sealed material needs to be referenced in a brief, counsel must file both a sealed,
        highlighted version of the brief and a public, redacted version of the brief, as
        well as a certificate of confidentiality.

           •   Use ECF event-SEALED BRIEF to file sealed electronic version of brief in
               which sealed material has been highlighted. One sealed paper copy must be
               sent to the court. If the case is tentatively calendared for oral argument, 3
               additional paper copies of sealed brief must be filed, with additional copies
               being ordered by the court if otherwise needed. Cover of sealed brief must be
               marked SEALED, and paper copies must be placed in envelopes marked
               SEALED. Sealed version must be served on other parties in paper form.
           •   Use ECF event-Certificate of confidentiality to identify authority for
               treating material as sealed and to identify who may have access to sealed
               material. A paper copy of certificate of confidentiality must accompany the
               paper copy of the sealed brief filed with the court.
           •   Use ECF event-BRIEF to file public electronic version of brief from which
               sealed material has been redacted. One paper copy must be sent to the court.
               If the case is tentatively calendared for oral argument, 3 additional paper
               copies of the brief must be filed, with additional copies being ordered by the
               court if otherwise needed. Paper copies of public brief do not need to be
               served on other parties.

        Sealed Version of Motions and Other Documents

        If sealed material needs to be referenced in a motion or other document, counsel
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        must file both a sealed, highlighted version and a public, redacted version, as
        well as a certificate of confidentiality.

           •   Use ECF event-SEALED DOCUMENT to file sealed electronic version of
               document in which sealed material has been highlighted. First page of
               document must be marked SEALED. No paper copies need be filed, but
               other parties must be served in paper form.
           •   Use ECF event-Certificate of confidentiality to identify authority for
               treating material as sealed and to identify who may have access to sealed
               material.
           •   Use the appropriate ECF event (e.g., MOTION or RESPONSE/ANSWER)
               to file public electronic version of document from which sealed material has
               been redacted. No paper copies of public document are needed for filing or
               service.

        Motions to Seal

        Counsel should file a motion to seal if the material was not previously sealed by
        virtue of the Privacy Policy for Electronic Case Files, or by statute, rule, regulation,
        or order. Counsel should also file a motion to seal if it is necessary to seal the
        entire brief or motion and not possible to create a public, redacted version.

        The motion to seal must appear on the public docket for five days; therefore,
        counsel must file both a sealed, highlighted version of the motion to seal (along
        with a certificate of confidentiality) and a public, redacted version of the motion
        to seal. The motion to seal must identify the document or portions thereof for
        which sealing is requested, the reasons why sealing is necessary, the reasons a less
        drastic alternative will not afford adequate protection, and the period of time for
        which sealing is required.

        For further information on redacting information from filings, please see No. 19,
        How do I redact items from pleadings?
